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                           Exhibit A
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   December 13, 2019
   BY FEDERAL EXPRESS
   Honorable Marianne O. Battani
   United States District Judge
   United States District Court for the Eastern District of Michigan
   Theodore Levin U.S. Courthouse
   231 W. Lafayette Blvd., Room 252
   Detroit, MI 48226
                        In re Automotive Parts Antitrust Litigation, End‐Payor Actions
                                  Master File No. 12‐md‐02311 (E.D. Mich.)
   Dear Judge Battani:
              Financial Recovery Services, LLC d/b/a Financial Recovery Strategies (“FRS”) has been
   retained by certain members of the Settlement Classes (“EP Class Members”) to manage their
   proofs of claim to recover from the End‐Payor settlements (the “EP Settlements”).1 We write to
   ask the Court to enter an order declaring that, under the longstanding and universally‐recognized
   equitable subrogation doctrine, FRS’s auto insurer clients (“Auto Insurers”) that, to or on behalf
   of EP Class Members (“Total Loss Insureds”), made indemnity payments for “Eligible Vehicles”
   that were deemed a total loss (“Total Loss Vehicles”),2 are subrogees, and thus stand in the shoes,
   of Total Loss Insureds, and, therefore, may recover from the EP Settlements to the extent of their

   1
     FRS’s clients have determined that, rather than manage their own claims, it is more cost effective to
   retain FRS so that they may focus on operating their own businesses. Since its founding in 2008, FRS has
   adhered to the highest ethical and professional standards in its sector (for FRS’s “Code of Conduct &
   Professional Ethics,” see www.frsco.com/about/code‐of‐ethics) to provide its clients, which number in
   excess of 18,000 and include “Fortune” household‐name multinational conglomerates, with industry‐
   leading class action claims consulting services. FRS’s services include enhancing the likelihood that all
   eligible business units are included; advising on required data; developing innovative alternatives for
   unavailable documents; and addressing claims administrator or class counsel questions (for case studies,
   see www.frsco.com/about/success). FRS’s professionals include seven attorneys and fifteen former claims
   administrators (for brief biographies, see www.frsco.com/teams) that together have spent decades
   prosecuting and settling class actions, administering class action settlements and managing class action
   claims. FRS is contractually required to send clients their distributions within thirty days (FRS audits all
   distributions); until then, funds are deposited in a segregated non‐interest‐bearing distribution account.
   2
     “Eligible Vehicles” are those that meet the requirements set forth in the several notices approved by the
   Court. E.g., Combined Notice, ECF 60‐2 (“Round 1 Notice”), “Question 7. How do I know if I may be
   included in the Classes?,” at 6‐8, 13,‐cv‐00703 (E.D. Mich.).


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   indemnity payments. 3 FRS and Settlement Class Counsel have been unsuccessful in their
   attempts to resolve this matter. Because the claim deadline is December 31, 2019, and because
   identifying, collecting and marshaling the data necessary for Auto Insurers’ proofs of claim will
   be a considerable undertaking, FRS seeks the Court’s intervention.4

                                         PRELIMINARY STATEMENT
           Auto Insurers, by paying the market values of Total Loss Vehicles, have compensated Total
   Loss Insureds for their entire lost interests in them, which necessarily included any supra‐
   competitive prices for auto parts (“Antitrust Losses”) that the End‐Payor Plaintiffs (“EPPs”) allege
   were included in the prices of Eligible Vehicles. Substituting Auto Insurers for Total Loss Insureds
   as claimants to recover from the EP Settlements the payments they made for Total Loss Vehicles
   is thus a textbook application of the equitable subrogation doctrine. Indeed, as the Court
   explained in GEICO Corp. v. Autoliv, Inc., and as courts throughout the U.S. routinely hold, the
   sine qua non of equitable subrogation is a payment by an insurer (Auto Insurers) to its insured
   (Total Loss Insureds) for losses (Antitrust Losses) that were caused by the party (settling
   defendants) from which the insurer seeks its recovery (the EP Settlements they funded):
           [T]he doctrine of equitable subrogation, “as applied in the insurance context,
           allows an insurer to sue a third party for injuries that the third party caused to the




   3
     Because auto insurance policies include subrogation provisions, see, e.g., GEICO Pers. Auto. Ins. Policy
   at 13, 12‐cv‐00403, ECF 266‐7 (E.D. Mich.) (“GEICO Policy”) (“If we make a payment under this policy and
   the person to or for whom payment was made has a right to recover damages from another we shall be
   subrogated to that right.”), Auto Insurers also are entitled to contractual subrogation. See, e.g.,
   Millennium Hold’g LLC v. Glidden Co., 53 N.E.3d 723, 728 (N.Y. 2016) (“Subrogation, generally, may arise
   either contractually or under the doctrine of equitable subrogation.”) (N.Y. 2016). And because Total Loss
   Insureds, as consideration for indemnity payments, have assigned to Auto Insurers their rights in Total
   Loss Vehicles, see, e.g., 5 WILLISTON ON CONTRACTS 4th, Forms §73F:8, WILLSTN‐FM §73F:8 (2019), Auto
   Insurers own the right to submit claims to recover from the EP Settlements.
   4
    FRS and Settlement Class Counsel have agreed, subject to the Court’s approval, that EPPs’ opposition to
   the relief sought in this letter and FRS’s reply in further support thereof shall be submitted to the Court
   on January 16, 2020 and on January 31, 2020, respectively.
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           insured, when the insurer compensated the insured for those injuries.” Nat’l Sur.
           Corp. v. Hartford Cas. Ins. Co., 493 F.3d 752, 756 (6th Cir. 2007).5
   Indeed, settlements of class actions in which the alleged damages may have been insured often
   expressly include the subrogation rights of insurers to file claims.6 Applying equitable subrogation
   to Auto Insurers also furthers that doctrine’s raison d’être: the prevention of an insured’s unjust
   enrichment:7 If Auto Insurers are not subrogated, Total Loss Insureds will recover twice – once
   from Auto Insurers and again from the EP Settlements – for the same Antitrust Losses.8




   5
     345 F. Supp.3d 799, 831 (E.D. Mich. 2018) (“GEICO”); e.g., Fireman’s Fund Ins. Co. v. Maryland Cas. Co.,
   77 Cal. Rptr.2d 296, 302‐03 (1998) (Equitable subrogation requires that “the insurer has compensated the
   insured … for the same loss for which the defendant is primarily liable;”); see also 16 COUCH ON INS.
   (“COUCH”) §222:8 (“When the insurer has made payment for the loss … the insurer should be reimbursed
   for its payment … .”); cases cited in Appendix A. Unless otherwise indicated, emphasis herein is added.
   6
    See, e.g., In re Zurn Pex Plumb. Prods. Liab. Litig., No. 08‐md‐1958, 2012 WL 5055810, at *3 (D. Minn.
   Oct. 18, 2012) (“Insurance carriers are members of the Settlement Class … if they paid insurance claims
   … .”). Even when insurers are not expressly included, courts still assure that they are provided with notice
   of their right to submit claims. See, e.g., Klug v. Watts Regulator Co., 8:15‐cv‐00061, 2016 WL 7156480, at
   *1‐*2; *5 (D. Neb. Dec. 07, 2016) (“notice plan … apprise[d] … subrogated insurers) of the pendency of
   the Action …”; proof of claim sent to insurers). And when insurers are excluded from the class, neither
   their subrogation rights, nor the claims of their insureds on which their subrogation rights depended, are
   released. See, e.g., Roberts v. Electrolux Home Prods., Inc., Master File No. SACV12‐1644, 2014 WL
   4568632, at *13 (C.D. Cal. Sept. 11, 2014) (“Class Members’ property damage or personal injury claims
   are not released under the Settlement: they (or their insurers) are still able to pursue those claims.”).
   7
     See, e.g., Nat’l Sur. Corp. v. Hartford Cas. Ins. Co., 493 F.3d 752, 756 (6th Cir. 2007) (“[E]quitable
   subrogation ‘has a long and rich tradition of benevolence and fairness, ... [that] is irrevocably anchored in
   principles of natural justice.’ … [It] is ‘designed to prevent unjust enrichment … .’”) (quotation omitted);
   Sorge v. Nat’l Car Rental Sys., Inc., 512 N.W.2d 505, 507 (Wis. 1994) (“The purpose of subrogation is to
   prevent a double recovery by the insured. … The insured is to be made whole, but no more than whole.”)
   (quotation omitted); 16 COUCH §222:8 (“[S]ubrogation has the objective of preventing the insured from
   recovering twice for one harm, as would be the case if he or she could recover from both the insurer and
   from a third person who caused the harm.”); cases cited in Appendix B; accord Fireman’s Fund Ins. Co. v.
   Morse Signal Devices, 151 Cal. App.3d 681, 686 (Ct. App. 1984) (subrogation “depends upon the
   superiority of the equities’”).
   8
    Nevertheless, if an Auto Insurer and its Total Loss Insured each submit a claim for the same Total Loss
   Vehicle, the Auto Insurer has the business discretion to yield in favor of its Total Loss Insured.
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                                                   ARGUMENT
           Because Auto Insurers Have Compensated Total Loss Insureds’ Antitrust Losses,
           Auto Insurers Are Entitled to the Benefits of the Equitable Subrogation Doctrine
           Equitable subrogation applies perforce to Auto Insurers because, although EP Class
   Members, when they leased or purchased Eligible Vehicles, paid supra‐competitive prices, those
   EP Class Members, when their Eligible Vehicles became Total Loss Vehicles, were fully
   indemnified by Auto Insurers. As a result of those indemnity payments, the Antitrust Losses that
   are the subject of this multidistrict indirect purchaser class action, and that are being
   compensated by the EP Settlements, are no longer borne by the EP Class Members‐turned‐Total
   Loss Insureds, but, instead, by the Auto Insurers that paid for them.
           It is fundamental economics that, whether Eligible Vehicles became Total Loss Vehicles as
   a result of fires, floods or collisions, Total Loss Insureds suffered one loss – namely, their interests
   in those Eligible Vehicles 9 – and that, by indemnifying the market value of those Total Loss
   Vehicles, Auto Insurers compensated Total Loss Insureds for their entire lost interests in them.
   For instance, if an EP Class Member’s Eligible Vehicle (a) was carjacked, and, (b) while attempting
   to evade state police that were pursuing at a dangerously high speed, (c) the carjacker collided
   with a truck that was being driven the wrong way on a one‐way street, and, (d) because the


   9
     Cf. Zaghi v. State Farm Gen’l Ins. Co., 77 F.Supp.3d 974, 977 (N.D. Cal. 2015) (“insurance does not insure
   the property covered thereby, but is a personal contract indemnifying the insured against loss resulting
   from the destruction of or damage to his interest in that property.”) (quoting Russell v. Williams, 374
   P.2d 827, 829 (Cal. 1962) (per curiam) (“It is a principle of long standing that a policy of fire insurance does
   not insure the property covered thereby, but is a personal contract indemnifying the insured against loss
   resulting from the destruction of or damage to his interest in that property.”)); Redfield v. Continental
   Cas. Corp., 818 F.2d 596, 606 (7th Cir. 1987) (“A property insurance contract is a personal contract
   between the named insured and the insurer to indemnify the insured against loss resulting from the
   destruction of or damage to his interest in property covered by the contract.”); Counihan v. Allstate Ins.
   Co., 827 F. Supp. 132, 134 n.3 (E.D.N.Y. 1993) (“It cannot be said that when the property is destroyed,
   triggering the insurer’s contractual obligation to pay money, that money is substituted for the property;
   the money merely compensates the policyholder for loss of the insured object.”), rev’d on other grounds,
   25 F.3d 109 (2d Cir. 1994); Guardo v. Buzzuro, No. 1905 EDA 2017, 2018 WL 3133679, at *3 (Pa. Super. Ct.
   June 27, 2018) (“[T]he indemnity is provided for the insured and for his interest in the property[.]’”)
   (quoting In re Gorman’s Est., 184 A. 86, 87 (Pa. 1936), quoted in AIG Cen’l Ins. Co. v. O'Neill, 782 F.3d 1296,
   1310 (11th Cir. 2015)).
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   municipality’s department of public works neglected properly to fence off an embankment, the
   Eligible Vehicle slid into a lake, (e) after which it was recovered and taken to a private salvage
   yard and, (f) while there, burst into flames when it was struck by lightning, the now‐Total Loss
   Insured may recover for the loss of what will have become a Total Loss Vehicle an amount that is
   not more than its market value. In other words, even though an assortment of acts – theft,
   recklessness, collision, fire, flood, act of nature and negligence – led to that loss, and even though
   the Total Loss Insured may pursue a recovery from a large cast of tortfeasors – the carjacker, the
   wrong way driver, the state police, the municipal department of public works and the owner of
   the salvage yard – not to mention the Total Loss Insured’s Auto Insurer, the Total Loss Insured
   lost but one Total Loss Vehicle. Accordingly, should the insurer of the wrong way motorist pay
   the Total Loss Insured the market value of the Total Loss Vehicle, the Total Loss Insured may not
   recover anything from any of the other tortfeasors or from the Auto Insurer because the Total
   Loss Insured may recover for that one Total Lost Vehicle only once.10

   10
     Support for this venerable principle is ubiquitous. In Ambassador Hotel Co., Ltd. v. Wei‐Chuan Inv., for
   example, the Ninth Circuit vacated a damage award that compensated a plaintiff twice for the same loss:
        Ambassador did suffer two separate harms. Still, Ambassador suffered only one loss, the loss of its
        investment, and therefore could not have received separate compensatory damage awards for its
        fraud claim and for its contract claim. Since Ambassador could not have received separate damage
        awards for its single loss, the district court erred by awarding both punitive damages, which sound
        in tort, and the higher interest rate, which sounds in contract.
   189 F.3d 1017, 1032 (9th Cir. 1999); accord Kassman v. American Univ., 546 F.2d 1029, 1033 (D.C. Cir.
   1976) (“’[A] cardinal principle of law is that … a plaintiff can recover no more than the loss actually
   suffered.’ For ‘when the plaintiff has accepted satisfaction in full for the injury done him, from whatever
   source it may come,’ we said, “he is so far affected in equity and good conscience, that the law will not
   permit him to recover again for the same damages.’ … Where there has been only one injury, the law
   confers only one recovery, irrespective of the multiplicity of parties whom or theories which the plaintiff
   pursues.”) (quoting Snowden v. D.C. Transit Sys., Inc., 454 F.2d, 1047, 1048 (D.C. Cir. 1971)); Burgess v.
   Premier Corp., 727 F.2d 826, 837 (9th Cir. 1984) (“Although the jury found for the doctors on claims under
   the Washington Securities Act, under federal securities laws, under the Washington Consumer Protection
   Act and pursuant to principles of common law fraud and negligent representation, the doctors are
   entitled to only one recovery for their out of pocket losses, … .”); see Hoyos v. Hammer Homes, Inc., 717
   F. Supp. 819, 821 (S.D. Fla. 1989 (“In this case, Plaintiffs have suffered only one loss: faulty construction
   and improper installation of a modular home. While Plaintiffs have two possible sources of recovery,
   they are entitled to but one recovery, regardless of the theory of recovery.”); Fair Oaks Trans. Co v.
   Central Mfrs’ Mut. Ins. Co., 127 F. Supp. 507, 508 (S.D.N.Y. 1954) (“Here only a single injury is alleged by
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           As in that hypothetical example, Total Loss Insureds in this case also suffered one loss—
   their interests in their Total Loss Vehicles; and that loss has been compensated by Auto Insurers’
   indemnity payments: Throughout the time periods set forth in the Court‐approved notices that
   Settlement Class Counsel disseminated to EP Class Members, the market values of Eligible
   Vehicles were inflated by Antitrust Losses;11 and under the property damage provisions of the
   applicable auto insurance policies, Auto Insurers were obligated to pay “actual cash values”
   adjusted only for “depreciation and physical condition,” not for any losses, such as Antitrust
   Losses, that were not covered—in other words, their market values. 12 That Auto Insurers’
   indemnity payments compensated Total Loss Insureds for their Antitrust Losses – the same losses
   that the settling defendants, the parties alleged to have caused them, are compensating via
   the EP Settlements – is, therefore, self‐evident. 13 Equitable subrogation thus applies to Auto



   the plaintiff, the loss of his property; and although he seeks to hold each defendant liable for the entire
   loss on a different basis, he may recover, if at all, only once, to the extent of his loss.”); J&R Elec. Inc. v.
   One Beacon Ins. Co., 824 N.Y.S.2d 763 (Table), 2005 WL 4257996, at *2 (N.Y. Sup. Ct. Dec. 13, 2005) (“The
   Policy covers the insured for ‘loss.’ Once the insurance company covers that loss, the insured cannot
   again recover for the same damaged merchandise because a different section of the Policy may cover
   that same loss.”), aff'd, 825 N.Y.S.2d 462 (N.Y. App. Div. 2006); cases cited in Appendix B.
   11
     See, e.g., Round 1 Notice, “Question 2. What are these lawsuits about?,” at p.4 (“[B]usinesses and
   consumers who purchased or leased new motor vehicles (not for resale) containing those parts or who
   indirectly purchased replacement parts (not for resale) from the Defendants may have paid more than
   they should have.”); Round 4 Notice, ECF 251‐6 at 4, 10‐13, 13‐cv‐02503 (E.D. Mich.) (same; supra‐
   competitive pricing is ongoing as demonstrated by the time periods ending in 2018 and 2019).
   12
     See, e.g., GEICO Policy, ECF 266‐7, at 9‐12 (“Limit of Liability”; Antitrust Losses not listed among
   “Exclusions”); accord 7A AM. JUR. 2d Auto. Ins. §402 (2019) (“[I]nsurer’s liability [for a total loss vehicle]
   generally is limited to the value of the vehicle prior to the accident.”); 12A COUCH §177:7 (3d ed. 2019)
   (market value of total loss vehicle “has been held to be the measure of recovery.”).
   13
      Cf. Schultz v. American Airlines, Inc., No. 18‐80633, 2019 WL 3000448, at *3 n.3 (S.D. Fla. July 10, 2019)
   (finding to be self‐evident that airline ticket prices increase as their supply is reduced); Bowlers’ Alley, Inc.
   v. Cincinnati Ins. Co., No. 13‐13804, 2015 WL 3541905, at *5 (E.D. Mich. Apr. 30, 2015) (“It is self‐evident
   that any overstatement of ‘profits’ in the financial statement was offset dollar for dollar by the
   understatement of ‘expenses’ that were left out”); FDIC v. First Mort. Inv., 485 F. Supp. 445, 450 (E.D. Wis.
   1980) (“It is self‐evident that a note payable on demand is more valuable than one for the same principal
   sum which is due at some uncertain date in the future.”); see generally FED. R. EVID. 201, Judicial Notice of
   Adjudicative Facts.
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   Insurers, and, therefore, they “stand in the shoes” of Total Loss Insureds and succeed to all of the
   latter’s rights and remedies: If Total Loss Insureds, but for total losses, would have been entitled
   to recover for Eligible Vehicles, Auto Insurers, as their subrogees, are entitled to recover for Total
   Loss Vehicles.14

                        That the Insurance Policies Do Not Cover Antitrust Losses
                      is Irrelevant to Auto Insurers’ Right to Equitable Subrogation
           Settlement Class Counsel, to support EPPs’ opposition to applying equitable subrogation
   to Auto Insurers, referred FRS to Round 3 Defendants’ opposition to GEICO’s exclusion request.
   Round 3 Defendants’ opposition was based entirely on their ipse dixit that, because GEICO’s
   insurance policies did not cover Antitrust Losses, GEICO “never paid a penny for alleged antitrust
   losses of its insureds.”15 That argument, which focuses entirely on why the indemnity payments
   were made, may be facially appealing, but in fact is a red herring: While it is irrefutable both that


   14
      See, e.g., GEICO, 345 F. Supp.3d at 831 (“In pursuing this recovery, the insurer (or subrogee) ‘succeeds
   to the rights of’ its insured (the subrogor), and seeks to ‘require the party who caused the damage to
   reimburse the insurer for the payment the insurer has made’ to its insured.”) (quoting Allstate Ins. Co. v.
   Mazzola, 175 F.3d 255, 258 (2d Cir. 1999) (“The doctrine of equitable subrogation allows insurers to ‘stand
   in the shoes’ of their insured to seek indemnification by pursuing any claims that the insured may have
   had against third parties legally responsible for the loss.”); US Airways, Inc. v. McCutchen, 569 U.S. 88,
   97 n.5 (2013) (Under “[s]ubrogation … one person is allowed to stand in the shoes of another … .”)
   (quotation omitted); U.S. v. Munsey Trust Co., 332 U.S. 234, 242 (1947) (“[o]ne who rests on subrogation
   stands in the place of one whose claim he has paid … .”), quoted in U.S. v. California, 507 U.S. 746, 756
   (1993); Am. Sur. Co. of N.Y. v. Bethlehem Nat. Bank, 314 U.S. 314, 317 (1941) (“Succeeding to the creditor’s
   right, the surety also succeeds to the creditor’s means for enforcing it[, and is] subrogate[ed] to the
   remedies of th[at] creditor … .”); 16 COUCH §222:5(“Subrogation … gives to the substitute all the rights,
   priorities [and] remedies, … of the [subrogor,] … regardless of whether the insurer would have been
   entitled to bring such an action in its own right.”); cases cited in Appendix C. Because the insurer “is
   substituted for and succeeds to the rights of [its insured],” Allstate, 175 F.3d at 258, all the rights and
   remedies that Total Loss Insureds, as EP Class Members, would have had to recover for Eligible Vehicles
   prior to them becoming Total Loss Vehicles, are, for Total Loss Vehicles, possessed by Auto Insurers.
   Because Auto Insurers’ subrogation rights are thus the same as Total Loss Insureds’ eligibility under the
   definitions of the Settlement Classes, see, e.g., GEICO, 345 F. Supp.3d at 831 (“a subrogation claim by an
   insurer depends upon the claim of the insured”), as long as Total Loss Vehicles were Eligible Vehicles, it is
   irrelevant that, when Auto Insurers indemnified Total Loss Insureds for them, they were not “new.”
   15
     See Defs.’ Br. Supp. Mot. Den. GEICO’s Excl. Req. …, 12‐cv‐00403, ECF 266, at 17 (E.D. Mich.) (“Round 3
   Defs.’ GEICO Opp.”).
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   the indemnity payments for Total Loss Vehicles were made solely because of covered total loss
   events – indeed, without a covered total loss event to trigger the indemnity provisions, no
   payments to Total Loss Insureds would have been made – and that those indemnity payments
   compensated Total Loss Insureds for the property losses covered by the insurance policies,
   Round 3 Defendants conveniently ignore what those payments compensated – namely, Total
   Loss Insureds’ entire lost interests, including Antitrust Losses, in their Total Loss Vehicles.
             Round 3 Defendants’ diversion also is directly contradicted by the legal foundation for
   EPPs’ antitrust claims: EP Class Members are entitled to recover from the EP Settlements because
   defendants “agreed to unlawfully raise the price of certain motor vehicle component parts,” and,
   therefore, when EP Class Members purchased or leased Eligible Vehicles, they “paid more than
   they should have” for them.16 In other words, and contrary to Round 3 Defendants’ position,
   even though EP Class Members did not purchase the unlawfully overpriced parts individually as
   “parts,” when they paid for Eligible Vehicles they nonetheless paid supra‐competitive prices for
   those parts. That identical premise also confirms that Auto Insurers paid Total Loss insureds’
   Antitrust Losses: Auto Insurers, by paying the market values of Total Loss Vehicles, paid for the
   Antitrust Losses that necessarily were included in those market values, and, therefore, “paid
   more than they should have” for Total Loss Vehicles. Round 3 Defendants’ attempt to elevate
   form over substance.
             Round 3 Defendants read the coverage provisions of the auto insurance policies, point
   out the obvious – they do not expressly include (nor do they expressly exclude) Antitrust Losses17
   – and on that fact alone argued that any indemnity payments that Auto Insurers made for Total
   Loss Vehicles had to have been for covered property damages, not for uncovered Antitrust



   16
        See, e.g., Round 1 Notice, “Question 2. What are these lawsuits about?,” at p.4.
   17
     See Round 3 Defs.’ GEICO Opp. at 3 (“GEICO’s potential subrogation rights – arising from its payments
   under automobile policies for covered losses – extend only to those covered losses.”); id. at 16 (“GEICO is
   simply wrong that payments under an automobile insurance policy for damage to a vehicle from, for
   example, a collision can ever create subrogation rights of any kind against antitrust losses or any other
   loss for which GEICO did not make a payment and did not even offer insurance.”) (emphasis original).
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  Losses, and, therefore, that equitable subrogation does not apply. But that approach, as
  explained above, misconstrues the underpinnings of equitable subrogation. That doctrine does
  not depend on the extent of insurance coverage, but, instead, and as this Court aptly explained,
  equitable subrogation depends solely on whether the indemnity payment compensated the
  insured for the losses that the insurer seeks to recover from the responsible party.18 Labelling
  those payments based on why they were made is thus irrelevant: Even though the policies did
  not cover Antitrust Losses, Auto Insurers’ indemnity payments, which equaled the market value
  of the property damaged, compensated Total Loss Insureds for their entire lost interests in their
  Total Loss Vehicles, which necessarily included their Antitrust Losses. Deprived of its foundation
  – Auto Insurers did compensate Total Loss Insureds for their Antitrust Losses – this argument falls
  of its own weight.
            Round 3 Defendants’ primary legal precedent, Shockley v. Harleysville Mut. Ins. Co., 19
  does not help their position. It does not, as they argued in opposition to GEICO’s opt out request,
  rely on the coverage provisions of an insurance policy to deny subrogation to an insurer that had
  indemnified its insured for the losses that the insurer then sought to recover from the responsible
  party.20 Rather, the majority opinion in Shockley supports the opposite proposition: Whenever
  an insurer has paid its insured for losses, even losses that were not covered by the applicable
  policy, that insurer has the right to be subrogated to recover its payment from the party
  responsible for the losses the insurer indemnified.21 In Shockley, an insured who, via a false title,


  18
    GEICO, 345 F. Supp.3d at 831 (quoting Nat’l Sur., 493 F.3d at 756); e.g., Fireman’s Fund, 77 Cal. Rptr.2d
  at 302‐03; cases cited in Appendix A.
  19
    553 A.2d 973, 974 (Pa. Super. Ct. 1988) (2‐1 decision; Pennsylvania is not a state “entitled to monetary
  recovery” from the EP Settlements).
  20
       See Round 3 Defs.’ GEICO Opp. at 17‐18.
  21
    See 553 A.2d at 976. Round 3 Defendants cite two other cases that, like Shockley, also support the
  application of equitable subrogation when, as did Auto Insurers, insurers pay for the same losses they
  seek to recover from the parties that caused them. In Morse Signal, the court relied on the universally
  applied requirement that an insurer must “ha[ve] compensated the insured for the same loss for which
  the party to be charged is liable” to reject a property insurer’s antitrust claims against alarm companies
  because the insurer paid only for the property lost by fire or theft, which, unlike Auto Insurers’ payments
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  had purchased a vehicle that later was destroyed by fire, reached with the auto dealer a
  settlement that fully compensated the insured for her lost car.22 The insured, notwithstanding
  her full recovery for the lost car, then sought to compel the insurer to indemnify the fire loss; the
  insurer, “point[ing] to the subrogation provision of the insurance contract to excuse its obligation
  to pay,”23 refused to do so and to thereby provide the insured with a double recovery. Although
  the Shockley majority reversed the trial court’s denial of the insured’s request for relief,24 the


  for Total Loss Vehicles, did not include any price fixing costs that its insureds allegedly suffered when they
  paid for the alarm systems. See 151 Cal. App.3d at 691 (“What is the loss under any purported price‐fixing
  scheme to the insured? The loss, if any, to the insured consists either of higher priced alarm service or
  compelled costs such as the additional insurance premiums the insured may be burdened with to gain
  similar pricing terms.”); accord ACSTAR Ins. Co. v. Clean Harbors, Inc., 783 F. Supp.2d 312, 317 (D. Conn.
  2011) (equitable subrogation exists “where an insured is entitled to receive recovery for the same loss
  from more than one source”) (quotation omitted). Round 3 Defendants also quoted Judge Easterbrook’s
  opinion in Health Care Service Corp. v. Brown & Williamson Tobacco Corp., but that opinion only addressed
  a pleading deficiency concerning subrogation for insureds’ antitrust claims, not whether subrogation was
  appropriate under those facts. See 208 F.3d 579, 581 (7th Cir. 2000) (“[T]he complaint does not give any
  reason to believe that the insurers have compensated the insureds for antitrust injury or purchased the
  right to pursue smokers' antitrust claims. But we need not pursue these issues, for the amended
  complaint that the Blues sought leave to file did none of these things.”); U.S. v. Baxter Int’l, Inc., 345 F.3d
  866, 884 n.14 (11th Cir. 2003) (Brown & Williamson complaint deficient primarily because “it failed to
  plead … [inter alia] a right to recovery.”). Whether GEICO sufficiently “pleaded” that it compensated its
  Total Loss Insureds for Antitrust Losses is not relevant to whether Auto Insurers are subrogees entitled to
  recover for Total Loss Vehicles.
  22
       See 553 A.2d at 974.
  23
       See 553 A.2d at 974‐75.
  24
     This 1988 decision from a divided Pennsylvania Superior Court has not, with respect to requiring an
  insurer to compensate an insured that already had been fully compensated via a prior settlement, been
  cited by any court in the over thirty years since its issuance. Even though the Shockley majority determined
  that “[t]he settlement to [the insured] completely covered her loss,” id. at 974, and that the dealer
  “essentially paid the full value of the automobile,” id. at 976, it nevertheless reversed the lower court
  because “it would also allow subrogation against monies received by appellant for a loss the type of which
  appellee had not even extended any insurance coverage to appellant for.” Id. The majority cited the
  correct standard, but failed to understand a most basic economic reality: The insured suffered only one
  loss for which she had already been fully compensated. But as the Shockley dissent explained, and as
  courts throughout the U.S. have held, an insured may recover for its loss only once:
          Reduced to fundamentals, property insurance is an agreement to indemnify against economic loss
       in a case where property is damaged or destroyed. A policy of fire insurance is a contract of indemnity
       which does not pertain to the property as such, but rather covers the interest of the insured in the
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  majority, after noting that “the recovery [on which the insurer relied for subrogation] was for a
  loss that [the insurer] apparently did not even extend coverage for,” stated nevertheless that,
  “[h]ad appellee [insurer] paid for this [uncovered title‐related] loss[,]” as have Auto Insurers for
  Antitrust Losses, “then it would have had an equitable right or subrogation right to monies
  received from appellant’s breach of warranty of title action.”25 Even according to the Shockley
  majority, therefore, Auto Insurers, because they paid for Antitrust Losses, have the right to
  equitable subrogation to recover their payments. And as the Shockley majority also recognized,
  to do otherwise would have provided the insured a double recovery at the expense of the
  insurer.26 Without application of the equitable subrogation doctrine here, Total Loss Insureds will


       property. … The object of the property insurance contract is not to provide a gain for the insured,
       but only to compensate him for an economic loss. Thus, where there is no economic loss by virtue
       of recoupment against a third party, there is no right to an additional recovery against the
       insurance company. …
                                                     …
         It is well settled that[, although] a plaintiff may select a form of action when more than one is
       appropriate to the facts, he cannot, by so doing, change the measure of his recovery from that fixed
       by the settled law as flowing from the same facts. Although a plaintiff may sue in two separate
       causes of action, he may only obtain one recovery for a single loss and this is so even though the
       recovery sought is against two different persons.
  553 A.2d at 978 (Cercone, J., concurring and dissenting) (“I must respectfully disagree with the
  determination by the majority that where such an insured sustains a single loss, she is entitled to a
  double recovery.”) (citations omitted). Notably, the Supreme Court of Pennsylvania agrees. See, e.g., AAA
  Mid‐Atlantic Ins. Co. v. Ryan, 84 A.3d 626, 634 (Pa. 2014) (“there exists a long‐standing prohibition in this
  Commonwealth against double recoveries for a single injury. … [A] court will not allow [a victim] more
  than one satisfaction in damages. An injured party cannot recover twice for the same injury.”) (citing
  Brown v. City of Pittsburgh, 186 A.2d 399, 402 (Pa. 1962) (“It has long been the law that for the same
  injury, an injured party may have but one satisfaction.”).
     The absurdity of Shockley majority’s “double recovery” holding also is evident in its observation that
  the tortfeasor would escape liability as well: “[Q]uite ironically, if appellee’s logic is utilized and the
  individual responsible for the fire damage is found, he or she would be immune from liability to [the
  insured] or [the insurer] for the fire damage because [the insured] has already been compensated.” 553
  A.2d at 976.
  25
       553 A.2d at 976.
  26
    See Shockley, 553 A.2d at 975 (citing Allstate Ins. Co. v. Clarke, 527 A.2d 1021, 1024 (Pa. Sup. Ct. 1987)
  (“[W]hen an individual who has been indemnified for a loss subsequently recovers for the same loss from
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  obtain a double recovery at the expense of Auto Insurers that already have compensated them
  for the same Antitrust Losses that the settling defendants are compensating via the EP
  Settlements.27

                                                CONCLUSION
          For the foregoing reasons, FRS requests that the Court enter an order declaring that Auto
  Insurers are equitable and contractual subrogees of Total Loss Insureds, and, therefore, that Auto
  Insurers may stand in the shoes of Total Loss Insureds to recover from the EP Settlements to the
  extent of the indemnity payments they made for Total Loss Vehicles.

  Respectfully submitted,


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  a third party, equity compels that the indemnifying party be restored that which he paid the injured party;
  thereby placing the cost of the injury upon the party causing the harm while preventing the injured party
  from profiting a ‘double recovery’ at the indemnifying party’s expense.”).
  27
    The releases provided to the settling defendants, see GEICO, 345 F. Supp.3d at 831‐32, are irrelevant to
  Auto Insurers’ subrogation claims. First, because the policies prohibit Total Loss Insureds from prejudicing
  Auto Insurers’ contractual rights to subrogate, see, e.g., GEICO Policy, ECF 266‐7 at 13, applying those
  releases would impermissibly rewrite the explicit terms of the policies. See, e.g., Upjohn Co. v. N.H. Ins.
  Co., 476 N.W.2d 392, 397 (Mich. 1991) (“[W]e reject the temptation to rewrite the plain and unambiguous
  meaning of the policy … . Rather, we enforce the terms of the contract as written.”), cited in Wausau Und.
  Ins. Co. v. Ajax Paving Indus., Inc., 671 N.W.2d 539, 544 (Mich. Ct. App. 2003). And those releases, which
  are fundamental to every class action settlement, e.g., Wal‐Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d
  96, 106 (2d Cir. 2005) (“[b]road class action settlements are common”), only bar EP Class Members from
  asserting claims against settling defendants, e.g., Order Grant. Final App. Round 3 Settles., 12‐cv‐00103,
  ECF 628 at 7 (E.D. Mich.) (EP Class Members “will release the ‘Released Claims’ against the Round 3
  Settling Defendants.”); GEICO at 831‐32 (EP Class Members “release[d] the defendants”); they do not,
  indeed, they cannot, bar EP Class Members from recovering from the EP Settlements, e.g., Round 3 Notice
  at 1, “Your Legal Rights and Options” (EP Class Members “are eligible to file a claim”). As Total Loss
  Insureds’ subrogees, Auto Insurers’ rights to recover from the EP Settlements are the same as their
  subrogors’. See, e.g., GEICO at 832 (GEICO’s subrogation claims “are subject to the same defense of
  release”); Br. Supp. Defs.’ Coll. Mot. Dismiss GEICO’s 2d Am. Compl., ECF 62, at 26, 16‐13189 (E.D. Mich.)
  (“[o]nce [subrogation] attached, GEICO ha[d] the same rights to recover against third parties as the
  insured”). Accordingly, the releases may not bar Auto Insurers.
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     EQUITABLE SUBROGATION ALLOWS AN INSURER TO RECOVER FOR ITS INSURED’S LOSS
              WHEN THE INSURER COMPENSATED ITS INSURED FOR THAT LOSS
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              Equitable Subrogation Allows an Insurer to Recover for Its Insured’s Loss
                      When the Insurer Compensated Its Insured for that Loss
                               (All emphasis supplied unless otherwise indicated.)


  Arizona:
  Hartford Unders. Ins. Co. v. Fluidmaster, Inc., No. 1 CA–CV 07–0545, 2008 WL 4885732, at *3 (Ariz. Ct.
  App. Nov. 10, 2008) (“It is well settled that where an insured contracts with a third party requiring the
  latter to pay for loss or damage to insured property, the insurer, upon payment of the loss, is subrogated
  to the rights of the insured under the contract.”) (quoting Title Ins. Co. of Minn. v. Costain Ariz., Inc., 791
  P.2d 1086, 1089 (Ariz. Ct. App. 1990)); Monterey Homes Ariz., Inc. v. Federated Mut. Ins. Co., 212 P.3d 43,
  47 (Ariz. Ct. App. 2009) (“[G]enerally, when an insurer has paid a loss suffered by its insured, the insurer
  becomes subrogated to the insured’s claim against the party primarily liable for the loss and may enforce
  that claim against that party … .”).

  Arkansas:
  EMC Ins. Cos. v. Entergy Arkansas, Inc., 924 F.3d 483, 487 (8th Cir. 2019) (“Under Arkansas law, … an
  insured who has been paid in full is not the real party in interest, and the insurer must sue the third party
  tortfeasor in its own name.”) (citing McGeorge Cont’g Co. v. Mizell, 226 S.W.2d 566 (1950)); Ark‐Homa
  Foods, Inc. v. Ward, 473 S.W.2d 910, 911 (1971) (“an insured who has been paid in full for a loss by his
  insurer is not the real party in interest and cannot maintain an action in his (the insured’s) name against
  the tort‐feasor causing the loss.”).

  California:
  Fireman’s Fund Ins. Co. v. Maryland Cas. Co., 77 Cal. Rptr.2d 296, 302‐03 (Ct. App. 1998) (“The essential
  elements of an insurer’s cause of action for equitable subrogation are as follows: … (c) the insurer has
  compensated the insured in whole or in part for the same loss for which the defendant is primarily liable;
  … .”) (citing Caito v. United Cal. Bank, 576 P.2d 466, 471 (1978).

  District of Columbia:
  London Guar. & Acc. Co. v. Enterprising Svces., Inc., 192 A.2d 292, 293 (D.C. 1963) (“Equity confers
  ‘instanter’ upon the insurer who has paid the same rights that belong to the policyholder.”); Trinity Univ.
  Ins. Co. v. Moore, 134 A.2d 333, 335 (D.C. 1957) (same).

  Florida:
  Monte de Oca v. State Farm Fire & Cas. Co., 897 So.2d 471, 472 n.2 (Fl. Ct. App. 2004) (Defining subrogation
  as “the right of the insurer to be put in the position of the insured in order to pursue recovery from third
  parties legally responsible to the insured for a loss paid by the insurer.”).

  Hawaii:
  State Farm Fire and Cas. Co. v. Pacific Rent‐All, Inc., 978 P.2d 753, 766‐67 (Haw. 1999) (“[A]n insurer which
  pays a claim against an insured for damages caused by the default or wrongdoing of a third party is
  entitled to be subrogated to the insured’s rights against such third party … .”) (quoting 8B John A.
  Appleman and Jean Appleman, INS. LAW & PRAC. §4941, at 31‐38 (1981)); Taylor v. GEICO, 978 P.2d 740,
  748 (Haw. 1999) (“[O]nce the [insurer] has paid benefits to the injured insured, the [insurer] succeeds to
  the insured’s rights against the tortfeasor.”).




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              Equitable Subrogation Allows an Insurer to Recover for Its Insured’s Loss
                      When the Insurer Compensated Its Insured for that Loss
                              (All emphasis supplied unless otherwise indicated.)

  Iowa:
  Wilson v. Farm Bureau Mut. Ins. Co., 770 N.W.2d 324, 328 (Iowa 2009) (“In the insurance context, the
  doctrine permits ‘an insurer who has paid a loss to an insured to become “subrogated in a corresponding
  amount to the insured’s right of action against any other person responsible for the loss.”’”) (quoting
  Allied Mut. Ins. Co. v. Heiken, 675 N.W.2d 820, 824 (Iowa 2004) (in turn quoting, 6A John A. Appleman &
  Jean Appleman, INS. LAW & PRAC. §4051, at 103 (rev. ed. 1972))).

  Kansas:
  Farm Bureau Mut. Ins. Co. v. Progressive Direct Ins. Co., 190 P.3d 989, 992 (Kan. Ct. App. 2008) (“The
  insurer’s right of subrogation against third persons causing the loss paid by the insurer to the insured is
  derived from the insured alone.”) (quoting Farmers Ins. Co., Inc. v. Farm Bureau Mut. Ins. Co., 608 P.2d
  923, 928 (Kan. 1980)).

  Maine:
  Bazinet v. Concord General Mut. Ins. Co., 513 A.2d 279, 282 (Me. 1986) (“no subrogation rights in favor of
  [insurer] had yet arisen” because insurer “refused to indemnify [insured] for her losses and never paid
  any benefits to her under the policy.”); Unity Tel. Co. v. Design Svce. Co.:
        This doctrine as expressed in the general rule that an insurer, on paying a loss, is subrogated in
      a corresponding amount to the assured’s right of action against any other person responsible for
      the loss, has been recognized in Leavitt v. Canadian Pacific Railway Company, 90 Me. 153, 160,
      37 A. 886, 38 L.R.A. 152, and in Home Insurance Co. v. Bishop, 140 Me. 72, 78, 34 A.2d 22, and
      instances of a liability or collision insurer, having paid off a claimant, proceeding in subrogation
      against a third party are common.
  201 A.2d 177, 179‐80 (Me. 1964).

  Massachusetts:
  WESCO Ins. Co. v. Berube, ESCV201501442A, 2018 WL 1384932, at *2 (Mass. Sup. Ct. Jan. 29, 2018) (“An
  insurer who has paid all or part of a loss may sue in the name of the assured to whose rights it is
  subrogated.”); Bunker Hill Ins. Co. v. G.A. Williams & Sons, Inc., 116 N.E.3d 47, 50 (Mass. Ct. App. 2018)
  (“Because Bunker Hill paid for the remediation of its insured’s damaged property, it is entitled to seek
  subrogation for the payments it made to [its insured].”) (citing, inter alia, New Eng. G&E. Ass’n v. Ocean
  Acc. & Guar. Corp., 116 N.E.2d 671, 683 (Mass. 1953) (“The general rule is well established that upon the
  payment of a loss the insurer is entitled to be subrogated pro tanto to any right of action which the
  insured may have against a third person whose negligence or wrong caused the loss.”).

  Michigan:
  Titan Ins. Co. v. State Farm Mut. Auto. Ins. Co., Dkt. No. 321112, 2015 WL 4746240, at *3 (Mich. Ct. App.
  Aug. 11, 2015) (“Equitable subrogation is a legal fiction through which a person who pays a debt for which
  another is primarily responsible is substituted or subrogated to all the rights and remedies of the other.”)
  (quoting Commercial Union Ins. Co. v. Med Protective Co., 393 N.W.2d 479, 482 (Mich. 1986) (per curiam).




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                      When the Insurer Compensated Its Insured for that Loss
                               (All emphasis supplied unless otherwise indicated.)

  Minnesota:
  Melrose Gates, LLC v. Chor Moua, 875 N.W.2d 814, 818 (Minn. 2016) (“[W]hen an insurer has paid a loss,
  ‘the insurer is subrogated in a corresponding amount to the insured’s right of action against any third
  party whose wrongful conduct caused the loss.’”) (quoting RAM Mut. Ins. Co. v. Rohde, 820 N.W.2d 1, 5‐
  6 (Minn. 2012).

  Mississippi:
  Armstrong v. Miss. Farm Bureau Cas. Ins. Co., 66 So.3d 188, 190‐91 (Miss. Ct. App. 2011) (“When an insurer
  makes payments to an insured to cover a loss and the insured has a claim against a third party to recover
  for that same loss, the insurer steps into the shoes of the insured and acquires the right to recover from
  that third party the amount paid to the insured.”) (citing St. Paul Prop. and Liab. Ins. Co. v. Nance, 577
  So.2d 1238, 1240‐41 (Miss. 1991)).

  Missouri:
  Scottsdale Ins. Co. v. Addison Ins. Co., 448 S.W.3d 818, 831 (Mo. 2014) (en banc) (“[S]ubrogation arises
  when the insurer pays its insured’s loss and allows the insured to recover from any third party who may
  have caused the loss.”); McDonald v. Insurance Co. of Penn., 460 S.W.3d 58, 65 n.1 (Mo. Ct. App. 2015)
  (“When an insurer pays an insured for a claim that the insured has against a tortfeasor, … the insurer has
  a right to subrogation.”) (citing Knob Noster R‐VIII School Dist. v. Dankenbring, 220 S.W.3d 809, 816 (Mo.
  Ct. App. 2007)).

  Montana:
  Skauge v. Mountain States Tel. & Tel. Co., 565 P.2d 628, 630 (Mont. 1977) (“A property insurer who has
  indemnified the insured is usually subrogated to any rights the insured may have against the third party
  who is responsible for the loss.”), cited in Van Orden v. United Svces. Auto. Ass’n, 318 P.3d 1042, 1045
  (Mont. 2014) (“An insurer who has indemnified its insured usually is subrogated to the insured’s rights of
  recovery against a third party who is responsible for the loss.”).

  Nebraska:
  SFI Ltd. P’ship 8 v. Carroll, 851 N.W.2d 82, 88 (Neb. 2014) (“Subrogation applies to an insurer’s right to
  proceed against a third party responsible for a loss which the insurer has compensated pursuant to its
  contractual obligation under a policy, and which depends, inter alia, on the existence of the insured’s
  right to proceed against that entity.”) (citing 16 COUCH ON INSURANCE §222:2 (3d ed. 2005)).

  Nevada:
  Duboise v. State Farm Mut. Auto. Ins. Co., 619 P.2d 1223, 1224 (Nev. 1980) (per curiam) (“[A]n insurer
  that pays its insured in full for claimed losses is subrogated by operation of law to the rights, if any, which
  the insured may have had against the tortfeasor before payment was made.”), cited in Arguello v. Sunset
  Station, Inc., 252 P.3d 206, 208 (Nev. 2011) (per curiam) (“’In such a case the insurer ... is the sole party
  in interest, and the only one who may assert a claim against those thought to be ultimately liable.’”)
  (quoting Valley Power Co. v. Toiyabe Supply, 396 P.2d 137, 138 (1964)).




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                      When the Insurer Compensated Its Insured for that Loss
                              (All emphasis supplied unless otherwise indicated.)

  New Hampshire:
  Allstate Ins. Co. v. Reserve Ins. Co., 373 A.2d 339, 340‐41 (N.H. 1977) (Subrogation action by “insurer which
  had paid an insured for collision damage against a third party who negligently caused the damage” is
  proper.).

  New Mexico:
  Southwest Steel Coil, Inc. v. Redwood Fire & Cas. Ins. Co., 148 P.3d 806, 809 (N.M. Ct. App. 2006)
  (“Subrogation encompasses the right of an insurance company, who has paid an insured’s claim, to step
  into the shoes of its insured and pursue recovery from the party who is legally responsible for the
  insured's losses.); Health Plus of N.M., Inc. v. Harrell, 958 P.2d 1239, 1242 (N.M. Ct. App. 1998) (“When
  an insurance company pays the claim of its insured, it is considered subrogated to recovery of its money
  against the person who caused the injury.”).

  New York:
  Millennium Holdings LLC v. Glidden Co., 53 N.E.3d 723, 728 (N.Y. 2016) (“Equitable subrogation ‘entitles
  an insurer to stand in the shoes of its insured to seek indemnification from third parties whose
  wrongdoing has caused a loss for which the insurer is bound to reimburse.’”) (citing ELRAC, Inc. v. Ward,
  748 N.E.2d 1, 8 (N.Y. 2001) (quoting North Star Reins. Corp. v. Continental Ins. Co., 624 N.E.2d 647, 653
  (N.Y. 1993))); Fasso v. Doerr, 903 N.E.2d 1167, 1170 (N.Y. 2009) (“It is well established that when an
  insurer pays for losses sustained by its insured that were occasioned by a wrongdoer, the insurer is
  entitled to seek recovery of the monies it expended under the doctrine of equitable subrogation.”).

  North Carolina:
  Group Health Plan for Emp. Barnhill Cont’g Co. v. Integon Nat. Ins. Co., 714 S.E.2d 866 (Table), 2011 WL
  3570054, at *5 (N.C. Ct. App. Aug. 16, 2011) (“[E]quitable subrogation is a mechanism whereby an insurer
  that pays for the claims of its insured becomes subrogated to the rights of the insured against the
  tortfeasor that caused the injuries.”) (citing Moore v. Beacon, 284 S.E.2d 136, 138 (N.C. Ct. App. 1981);
  Hardware Dealers Mut. Fire Ins. Co. v. Sheek, 158 S.E.2d 635, 637 (N.C. 1968) (“[W]hen an insurer of
  property pays the insured’s loss, he is subrogated to the extent of the payment to insured’s claim against
  the wrongdoer who caused the damage.”).

  North Dakota:
  Tri‐State Ins. Co. of Minn. v. Commercial Group West, LLC, 698 N.W.2d 483, 487 (N.D. 2005) (“[W]hen an
  insurer pays its insured for a loss, the insurer is subrogated to the insured’s right of action against any
  third party responsible for the loss.”) (quoting American Nat. Fire Ins. Co. v. Hughes, 658 N.W.2d 330, 333
  (N.D. 2003)).

  Oregon:
  Koch v. Spann, 92 P.3d 146, 148 (Or. Ct. App. 2004) (“’In the insurance context, subrogation permits an
  insurer in certain instances to recover what it has paid to its insured by, in effect, standing in the shoes
  of the insured and pursuing a claim against the wrongdoer.’”) (citing Furrer v. Yew Creek Logging Co., 292
  P.2d 499, 502 (1956) (en banc), quoted in Mid‐Century Ins. Co. v. Turner, 182 P.3d 855, 863 n.6 (Or. Ct.




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                               (All emphasis supplied unless otherwise indicated.)

  App. 2008); Safeco Ins. Co. v. Russell, 13 P.3d 519, 522 (Or. Ct. App. 2000) (“Subrogation is the right of the
  insurer to be put in the position of the insured in order to pursue recovery from third parties legally
  responsible to the insured for the loss paid by the insurer.”) (quotation omitted).

  Rhode Island:
  Lombardi v. Merchants Mut. Ins. Co., 429 A.2d 1290, 1291 (R.I. 1981) (“The right of [the insurers] against
  the tortfeasor, Joseph Silva, would arise as a result of the doctrine of subrogation pursuant to which an
  insurer, if it pays a loss incurred by its insured, is entitled to assert the rights that its insured would have
  against the third party who was responsible for the injury.”).

  South Carolina:
  Shumpert v. Time Ins. Co., 496 S.E.2d 653, 656 (S.C. Ct. App. 1998) (“The general rule is that when an
  insurer pays its insured for a loss resulting from the tortious conduct of a third party, the insurer is
  subrogated to the rights of its insured against the third party.”) (quoting Frank B. Hall & Co., Inc. v. Vic
  Bailey Lincoln‐Mercury, Inc., 379 S.E.2d 892, 894 (1989) (per curiam)).

  South Dakota:
  James v. State Farm Mut. Auto. Ins. Co., 929 N.W.2d 541, 543 (S.D. 2019) (“’[S]ubrogation is a time‐
  honored theory [in which] insurers who pay a loss [for insureds] are entitled, within the limits of [the]
  subrogation doctrine, to pursue the actual wrongdoer.” 16 Steven Plitt et al., COUCH ON INSURANCE §222:4
  (3d ed. Supp. 2018).’”).

  Tennessee:
  Acuity v. McGhee Eng’g, Inc., 297 S.W.3d 718, 724 (Tenn. Ct. App. 2008) (“The Tennessee Supreme Court
  has held that an insurer was subrogated to the rights its insured had against others when the insurer
  paid its insured’s claim.”) (quoting Almany v. Nationwide Ins. Co., No. 85‐341‐II, 1987 WL 4745, at *4
  (Tenn. Ct. App. Jan 29, 1987) (citing Lancaster Mills v. Merchants Cotton‐Press & Storage Co., 14 S.W. 317,
  330 (1890)), cited in Great Am. Ins. Co. of New York v. Federal Ins. Co., No. M2009‐00833‐COA‐R3‐CV, 2010
  WL 1712947, at *4 (Tenn. Ct. App. Apr. 28, 2010).

  Utah:
  Potomac Ins. Co. v. Nickson, 231 P. 445, 448 (Utah 1924) (“A person liable for and who has paid for a loss
  or injury caused by fault of another is subrogated to the rights of the injured party against the
  wrongdoer.”); National Union Fire Ins. Co. of Pitt., PA v. Smaistrala, 436 P.3d 249, 251 n.2 (Utah Ct. App.
  2018) (“’The doctrine of subrogation allows an insurer, having paid a loss resulting from a peril insured
  against, to step into the shoes of its insured and recoup its losses from a tort‐feasor whose negligence
  caused the loss.’”) (quotation omitted).

  Vermont:
  Utica Nat. Ins. Co. v. Cyr, 945 A.2d 361, 363 (Vt. 2008) (“The [subrogation] doctrine allows an insurer who
  has reimbursed its insured for a loss to be ‘subrogated in a corresponding amount to the insured’s right




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                                                 APPENDIX A
              Equitable Subrogation Allows an Insurer to Recover for Its Insured’s Loss
                      When the Insurer Compensated Its Insured for that Loss
                              (All emphasis supplied unless otherwise indicated.)

  of action against any other person responsible for the loss.’ 6A J. Appleman, INSURANCE LAW & PRACTICE
  §4051, at 103 (rev. ed. 1972).”).

  West Virginia:
  Kittle v. Icard, 405 S.E.2d 456, 460 (W. Va. 1991) (“[S]ubrogation gives the payor a right to collect what it
  has paid from the party who caused the damage.”), superseded on other grounds by statute, W. VA. CODE
  §9‐5‐11, as stated in In re E.B., 729 S.E.2d 270, 283 (W. Va. 2012).

  Wisconsin:
  Steadfast Ins. Co. v. Greenwich Ins. Co., 922 N.W.2d 71, 80 (Wis. 2019) (“’The doctrine of subrogation
  enables an insurer that has paid an insured’s loss ... to recoup that payment from the party responsible
  for the loss.’”) (quoting Dufour v. Progressive Classic Ins. Co., 881 N.W.2d 678, 683 (W. Va. 2016)).




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                               APPENDIX B
                        EQUITABLE SUBROGATION PREVENTS
               AN INSURED’S UNJUST ENRICHMENT OR DOUBLE RECOVERY
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                               (All emphasis supplied unless otherwise indicated.)
  Arizona:
  Weitz Co. L.L.C. v. Heth, 333 P.3d 23, 27 (Ariz. 2014) (“One who fully performs an obligation of another,
  secured by a mortgage, becomes by subrogation the owner of the obligation and the mortgage to the
  extent necessary to prevent unjust enrichment. … [T]his doctrine [will apply to] prevent an intervening
  lienholder from receiving an unearned windfall.”) (quotation omitted); Sourcecorp, Inc. v. Norcutt, 274
  P.3d 1204, 1207 (Ariz. 2012) (en banc) (“[A] person who ‘fully performs an obligation of another, secured
  by a mortgage, becomes by subrogation the owner of the obligation and the mortgage to the extent
  necessary to prevent unjust enrichment.’”).

  Arkansas:
  Southern Farm Bureau Cas. Ins. Co. v. Tallant, 207 S.W.3d 468, 471 (Ark. 2005) (“[B]ecause insurers pay
  the obligations of their insureds, a right in equity to subrogation in the insurer arises. This assures against
  unjust enrichment by way of double recovery.”) (citing Sentry Ins. Co. v. Stuart, 246 Ark. 680, 439 S.W.2d
  797 (1969) (“‘Subrogation serves to limit the chance of double recovery or windfall to the insured, … .”));
  Newberry v. Scruggs, 986 S.W.2d 853, 857 (Ark. 1999) (“The doctrine of subrogation is an equitable one,
  having for its basis the doing of complete and perfect justice between the parties without regard to form,
  and its purpose and object is the prevention of injustice. … It rests upon the maxim that no one shall be
  enriched by another’s loss ….”) (quotation omitted).

  California:
  Bank of N.Y. Mellon v. Citibank, N.A., 214 Cal. Rptr.3d 504, 520 (Cal. Ct. App. 2017) (“Equitable subrogation
  may be used ‘“to enforce restitution in order to prevent unjust enrichment … .’”) (quoting Estate of
  Kemmerrer, 251 P.2d 345, 347 (Cal. Ct. App. 1952)); 21st Cent. Ins. Co. v. Superior Court, 213 P.3d 972, 976
  (Cal. 2009) (“If insureds must reimburse their insurers once they recover from the tortfeasors, they are
  prevented from receiving double recovery and the financial responsibility for their loss is placed on the
  tortfeasor.”) (citing Helfend v. So. Cal. Rapid Transit Dist., 465 P.2d 61, 68 n.17 (Cal. 1970) (in bank)
  (“[S]ubrogation (or refund of benefits) is the means by which double recovery by the owner is prevented
  and the ultimate burden shifted to the wrongdoer where it belongs.)).

  District of Columbia:
  Eastern Sav. Bank, FSB v. Pappas, 829 A.2d 953, 957 (D.C. 2003) (“’The basic principles underlying
  subrogation are … restitution to prevent forfeiture and unjust enrichment.’”) (quotation omitted);
  National Union Fire Ins. Co. of Pittsburgh, Pa. v. Riggs Nat. Bank of Wash., D.C., 646 A.2d 966, 968 (D.C.
  1994) (“Where one party has paid the debt of another, justice requires that the payor be able to recover
  his loss from the one who should have paid it, to prevent unjust enrichment.”) (citing Appleman, INS.
  LAW & PRAC., §6502 (1981)).

  Florida:
  Continental Cas. Co. v. Ryan Inc. Eastern, 974 So.2d 368, 376‐77 (Fla. 2008) (“[E]quitable subrogation, ‘the
  object of which is to prevent injustice,’ is governed by principles of equity.”) (quotation omitted); Florida
  Peninsula Ins. Co. v. Ken Mullen Plumbing, Inc., 171 So.3d 194, 197 (Fl. Ct. App. 2015) (“’The policy behind
  the doctrine [of equitable subrogation] is to prevent unjust enrichment … .’”); Gortz v. Lytal, Reiter, Clark,




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  Sharpe, Roca, Fountain & Williams, 769 So.2d 484, 486 (Fla. Ct. App. 2000) (“Equitable subrogation …
  exists to prevent unjust enrichment.’”) (quoting Benchwarmers, Inc. v. Gorin, 689 So.2d 1197, 1199 (Fla.
  Ct. App. 1997)).

  Hawaii:
  Yukumoto v. Tawarahara, 400 P.3d 486, 492‐93 (Haw. 2017) (“Subrogation is a ‘creature of equity,’ and is
  premised on the notion that an insured should not be able to ‘unduly benefit from a loss and thereby
  enjoy a “double recovery” from both the insurer and the tortfeasor.’”) (quoting St. Paul Fire & Mar. Ins.
  Co. v. Liberty Mut. Ins. Co., 353 P.3d 991, 994 (Haw. 2015), quoted in Rudel v. Hawaii Mgmt. Alliance
  Assoc., Civ. No. 15‐00539 JMS‐RLP, 2017 WL 4969331, at *3 n.5 (D. Haw. Oct. 31, 2017).

  Iowa:
  State Dep’t of Human Servs. ex rel. Palmer v. Unisys Corp., 637 N.W.2d 142, 154 (Iowa 2001) (Subrogation
  is “equitable in nature and employed to correct or prevent unjust enrichment.”); Principal Cas. Ins. Co. v.
  Norwood, 463 N.W.2d 66, 67‐68 (Iowa 1990) (“At common law in Iowa and elsewhere, the recognized
  purpose of subrogation is ‘to prevent unjust enrichment of one party at the expense of another.’”)
  (quoting Ludwig v. Farm Bureau Mut. Ins. Co., 393 N.W.2d 143, 146 (Iowa 1986)); Lumbermens Mut. Cas.
  Co. v. State, Dept. of Rev. & Fin., 564 N.W.2d 431, 434 (Iowa 1997) (same).

  Kansas:
  Henson v. Davis, 402 P.3d 1161, 1166‐67 (Kan. Ct. App. 2015) (“An essential element of this subrogation
  relationship … [is that it] prevents a double recovery by the person to whom the payment was owed
  … .”); National City Mortg. Co. v. Ross, 117 P.3d 880, 888 (Kan. Ct. App. 2005) (“the doctrine of subrogation
  is based on the theory of unjust enrichment”) (quotation omitted).

  Maine:
  Nappi v. Nappi Distribs., 691 A.2d 1198, 1199 (Me. 1997) (Equitable subrogation “is ‘a concept derived
  from principles of restitution and unjust enrichment.’”), quoted in MMG Ins. Co. v. Podiatry Ins. Co. of
  Am., 263 F. Supp.3d 327, 340 (D. Me. 2017); Maine Mun. Emp. Health Trust v. Maloney, 846 A.2d 336, 339
  n.1 (Me. 2004) (“Equitable subrogation is itself based on principles of unjust enrichment and
  restitution.”).

  Massachusetts:
  Ditech Fin., LLC v. Kennedy, 103 N.E.3d 767 (Table), 2018 WL 1371094, at *2 (Mass. Ct. App. Mar. 19, 2018)
  (“We are guided by ’the purpose of equitable subrogation[, which] is to prevent unjust enrichment.’”)
  (alteration in original) (quoting Wells Fargo Bank, N.A. v. Comeau, 87 N.E.3d 577, 582 (Mass. App. Ct.
  2017)); Frost v. Porter Leasing Corp., 436 N.E.2d 387, 389 (Mass. 1982) (“The reason for implied
  subrogation under contracts of insurance is to prevent an unwarranted windfall to the insured. If the
  insured recovers from both the insurer and the tortfeasor, his compensation may exceed his actual loss.
  Duplicative recovery is ‘a result which the law has never looked upon with favor.’”) (citation and
  quotation omitted), cited in Suffolk Const. Co., Inc. v. Benchmark Mech. Sys., Inc., 56 N.E.3d 138, 142




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  (Mass. 2016) (“The underlying principle of implied subrogation is to prevent an unwarranted windfall,
  something disfavored in the law.”).

  Michigan:
  Badran v. Household Finance Corp, III, No. 279026, 2008 WL 4335098, at *5 n.6 (Mich. Ct. App. Sept. 23,
  2008) (“[O]ne ‘who fully performs an obligation of another, secured by a mortgage, becomes by
  subrogation the owner of … the mortgage to the extent necessary to prevent unjust enrichment.’”)
  (quoting Restatement Property (Mortgages), 3d, §7.6); Eastern Sav. Bank v. Monroe Bank & Trust,
  No. 231886, 2002 WL 31941034, at *5 (Mich. Ct. App. Nov. 26, 2002 (per curiam) (“One who fully performs
  an obligation of another, … becomes by subrogation the owner of the obligation … to the extent necessary
  to prevent unjust enrichment.”) (quotation omitted).

  Minnesota:
  Time Ins. Co. v. Opus Corp., 519 N.W.2d 470, 472 (Minn. Ct. App. 1994) (“[T]he purpose of subrogation is
  to prevent unjust enrichment by a tortfeasor.”); Group Health, Inc. v. Heuer, 499 N.W.2d 526, 530 (Minn.
  Ct. App. 1993) (“Subrogation is an equitable concept arising out of payment of another’s obligation, and
  its purpose is to prevent unjust enrichment.”) (citing Westfield Ins. Co. v. Farm Bureau Mut. Ins. Co., 515
  F. Supp. 38, 40 (D. Minn. 1981) (“Subrogation is an equitable doctrine, the purpose of the doctrine is to
  avoid unjust enrichment.”) (citing in turn Garrity v. Rural Mut. Ins. Co., 253 N.W.2d 512 (Wis. 1977) (“The
  purpose of the [subrogation] doctrine is to avoid unjust enrichment.”)).

  Mississippi:
  Armstrong v. Mississippi Farm Bureau Cas. Ins. Co., 66 So.3d 188, 190‐91 (Miss. Ct. App. 2011) (“The
  purposes of subrogation are to prevent the insured from recovering twice for the same loss and to
  reimburse the insurer when a third party should be required to pay for the loss.”); Tighe v. Walton, 103
  So.2d 8, 13 (Miss. 1958) (“’The right to subrogation is particularly appropriate where the circumstances
  under which the application is made results in unjust enrichment.’”) (quotation omitted).

  Missouri:
  Missouri Pub. Entity Risk Mgmt. Fund v. American Cas. Co. of Reading, 399 S.W.3d 68, 74 (Mo. Ct. App.
  2013) (“Unjust enrichment is related to the doctrine of equitable subrogation. ‘Subrogation exists to
  prevent unjust enrichment.’”) (quoting Keisker v. Farmer, 90 S.W.3d 71, 75 (Mo. 2002) (en banc)).

  Montana:
  Montana Petrol. Tank Release Comp. Bd. v. Capitol Indem. Co., 137 P.3d 522, 528 (Mont. 2006)
  (“Subrogation is an equitable adjustment of rights used to avoid unjust enrichment.”); Skauge v.
  Mountain States Tel. & Tel. Co., 565 P.2d 628, 630 (Mont. 1977) (“The theory behind this principle [of
  subrogation] is that absent repayment of the insurer the insured would be unjustly enriched by virtue of
  recovery from both the insurer and the wrongdoer, … .”).




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                              (All emphasis supplied unless otherwise indicated.)

  Nebraska
  Rawson v. Omaha, 322 N.W.2d 381, 385 (Neb. 1982) (6 to 1 decision) (“[T]o hold [subrogation
  inapplicable] would result in unjust enrichment to the City and was the very reason for creating the
  doctrine of equitable subrogation.”); Universal Unders. Ins. Co. v. Farm Bureau Ins. Co. of Neb., 498 N.W.2d
  333, 335‐36 (Neb. 1993) (“Subrogation is an equitable doctrine applied in order to avoid unjust
  enrichment … .”).

  Nevada:
  Houston v. Bank of Am. Fed. Sav. Bank, 78 P.3d 71, 74 (Nev. 2003) (“Equitable subrogation is an equitable
  remedy to avoid a person’s receiving an unearned windfall at the expense of another.”), quoted in United
  States v. Belshaw, 3:07‐cv‐00080‐RCJ‐VPC, 2010 WL 11590133, at *4 D. Nev. Mar. 30, 2010).

  New Hampshire:
  Wolters v. American Republic Ins. Co., 827 A.2d 197, 200 (N.H. 2003) (Subrogation “prevents the insured
  from recouping a windfall double recovery.”) (citing Cunningham v. Metropolitan Life Ins. Co., 360 N.W.2d
  33, 36 (Wis. 1985)).

  New Mexico:
  Amica Mut. Ins. Co. v. Maloney, 903 P.2d 834, 838 (N.M. 1995) (“The doctrine of subrogation is ‘founded
  upon the relationship of the parties and upon equitable principles, for the purpose of accomplishing the
  substantial ends of justice.’”) (quotation omitted); Seaboard Fire & Mar. Ins. Co. v. Kurth, 633 P.2d 1229,
  1236 (N.M. Ct. App. 1980) (“’Subrogation is a remedy which courts of equity employ to prevent unjust
  enrichment.’”) (quotation omitted); Quality Chiropractic, PC v. Farmers Ins. Co. of Ariz., 51 P.3d 1172, 1179
  (N.M. Ct. App. 2002) (“Subrogation developed as an equitable doctrine intended to avoid unjust
  enrichment.”).

  New York:
  Teichman v. Community Hosp. of Western Suffolk, 663 N.E.2d 628, 631 (N.Y. 1996) (“This right of
  subrogation, formulated to prevent unjust enrichment, is based upon ‘principles of equity and natural
  justice.’”) (quotation omitted), cited in In re September 11 Litigation, 802 F.3d 314, 351 (2d Cir. 2015)
  (Straub, J., concurring in part and dissenting in part); Citimortgage, Inc. ex rel. Principal Res. Mortg., Inc.
  v. Chouen, 154 A.D.3d 914, 916 (N.Y. App. Div. 2017) (“the doctrine of equitable subrogation applies to
  prevent unjust enrichment by subrogating the mortgagee to the position of the senior lienholder”)
  (quotation omitted).

  North Carolina:
  Hogan v. Johnson Motor Lines, 248 S.E.2d 61, 65 (N.C. Ct. App. 1978) (“’The underlying basis of the
  employer’s right to subrogation is the prevention of an unjust enrichment on the part of the employee
  in the form of a double recovery for the same injury.’”) (quotation omitted).




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  North Dakota:
  Kunkel v. First Nat. Bank of Devils Lake, 393 N.W.2d 265, 268 (N.D. 1986) (subrogation designed “to
  prevent unjust enrichment”).

  Oregon:
  Koch v. Spann, 92 P.3d 146, 148 (Or. Ct. App. 2004) (“Subrogation is an equitable doctrine that is based
  on theory of restitution and unjust enrichment.”) (citing Maine Bonding v. Centennial Ins. Co., 693 P.2d
  1296, 1299 & n.4 (Or. 1985) (Equitable subrogation “rests upon the maxim that no one should be enriched
  by another’s loss … .”) (quotation omitted)); Ochoco Lumber Co. v. Fibrex & Ship’g Co., Inc., 994 P.2d 793,
  796 (Or. Ct. App. 2000) (“The purpose of subrogation is to prevent unjust enrichment.”).

  Rhode Island:
  Rhode Is. Hosp. Trust Nat. Bank v. Feriole, No. C.A. 79‐2785, 1980 WL 340218, at *2 (R.I. Super. Ct. Mar. 13,
  1980) (“Legal subrogation arises by operation of law … to prevent unjust enrichment.”), quoted in Cullen,
  Inc. v. Capital Crossing Pfd. Corp., No. Civ. A. PC 01‐5337, 2004 WL 877634, at *4 (R.I. Super. Ct. Apr. 15,
  2004).

  South Carolina:
  Shumpert v. Time Ins. Co., 496 S.E.2d 653, 657 (S.C. Ct. App. 1998) (In property insurance context,
  equitable subrogation should apply to avoid insured’s windfall).

  South Dakota:
  Amert v. Continental Cas. Co., 409 N.W.2d 660, 663 (S.D. 1987) (“The purpose of subrogation is to …
  prevent[] the insured from recouping a windfall double recovery.”) (quotation omitted).

  Tennessee:
  Blankenship v. Estate of Bain, 5 S.W.3d 647, 650 (Tenn. 1999) (Equitable subrogation “’is based on two
  fundamental premises: 1) that an insured should not be permitted recovery twice for the same loss,
  which would be the potential result if the insured recovers from both its insurer and a tortfeasor … .’”)
  (quoting York v. Sevier County Ambulance Auth., 8 S.W.3d 616, 619 (Tenn. 1999); Abbott v. Blount County,
  207 S.W.3d 732, 734 (Tenn. 2006) (“[T]he primary purpose of subrogation is ‘to prevent either the unjust
  enrichment of the insured through a double recovery or a windfall benefit to the principal tortfeasor.’”)
  (quoting Wimberly v. Am. Cas. Co., 584 S.W.2d 200, 203 (Tenn. 1979)).

  Utah:
  Birch v. Fire Ins. Exch., 122 P.3d 696, 697 (Utah Ct. App. 2005) (“The doctrine of equitable subrogation
  enforces the principle that the insured is not entitled to double recovery, and the insurer is equitably
  entitled to recover any amounts from the insured that the insured recovered that the insured recovered
  from the tortfeasor.”).




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  Vermont:
  Town of Stowe v. Stowe Theatre Guild, 908 A.2d 447, 449 (Vt. 2006) (“As explained in United Mutual Fire
  Insurance Co. v. Joerg, 824 A.3d 586, 589 (Vt. 2003), the doctrine of subrogation is premised on theories
  of promoting restitution and avoiding unjust enrichment. Id. ¶6. … Subrogation prevents unjust
  enrichment to the insured that would result from double recovery, … .”).

  West Virginia:
  Farmers & Mechs. Mut. Ins. Co. v. Allen, 778 S.E.2d 718, 727 (W. Va. 2015) (Davis, J. concurring) (“’The
  object of subrogation is the prevention of injustice. … It is an appropriate means of preventing unjust
  enrichment.’”) (quoting 23 Richard A. Lord, Williston on Contracts §61:51 (4th ed. 2011)); Porter v.
  McPherson, 479 S.E.2d 668, 162 n.8 (W. Va. 1996) (“Subrogation is related closely, if not directly, to ‘the
  equitable principles of “restitution” and “unjust enrichment.”’”) (quotation omitted).

  Wisconsin:
  Fischer v. Steffen, 797 N.W.2d 501, 515 & n.24 (Wis. 2011) (“The rules of subrogation … prevent an injured
  party from receiving a double recovery.”)## (citing Koffman v. Leichtfuss, 630 N.W.2d 201, 212 (Wis.
  2001) (“Subrogation exists … to prevent the subrogor from being unjustly enriched through a double
  recovery, i.e., a recovery from the subrogated party and the liable third party.”); Sorge v. National Car
  Rental Sys., 512 N.W.2d 505, 507 (Wis. 1994) (“The purpose of subrogation is to prevent a double recovery
  by the insured. … The insured is to be made whole, but no more than whole.”) (quotation omitted).




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                                APPENDIX C
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  Arizona:
  Monterey Homes Ariz., Inc. v. Federated Mut. Ins. Co., 212 P.3d 43, 47 (Ariz. 2009) (“The insurer essentially
  stands in the shoes of the insured, taking on the insured’s rights and remedies as against the third party
  … .”) (citing, inter alia, Allstate Ins. Co. v. Mazzola, 175 F.3d 255, 258 (2d Cir. 1999)); Weitz Co. L.L.C. v.
  Heth, 333 P.3d 23, 28 (Ariz. 2014) (Under equitable subrogation, rights “are not discharged but are instead
  assigned by operation of law to the one who paid the obligation.”).

  Arkansas:
  Hartford Ins. Co. of Midwest v. Mullinax, 984 S.W.2d 812, 817 (Ark. 1999) (“Because Hartford Insurance
  stands in the shoes of Mullinax, its claim is no greater than that of its insured.”).

  California:
  Fireman’s Fund Ins. Co. v. Maryland Cas. Co., 77 Cal. Rptr.2d 296, 303 (Cal. Ct. App. 1998) (“The subrogated
  insurer is said to “’stand in the shoes’” of its insured, … .”) (quoting Truck Ins. Exch. v. Superior Court
  (Transco Syndicate No. 1), 70 Cal. Rptr.2d 255, 259 (Cal. Ct. App. 1997), cited in Employers Ins. of Wausau
  v. Granite State Ins. Co., 330 F.3d 1214, 1217 (9th Cir. 2003) (California law) (also citing Brown v. Rouse,
  58 P. 267, 269 (Cal. 1899) (A subrogee “is put in all respects in the place of the party to whose right he is
  subrogated.”)); Allstate Ins. Co. v. Loo, 54 Cal. Rptr.2d 541, 543 (Cal. Ct. App. 1996) (“In the action for
  subrogation the insurer as subrogee stands in the shoes of the insured/subrogor.”); Fireman’s Fund Ins.
  Co. v. Maryland Cas. Co., 26 Cal.Rptr.2d 762, 767‐68 (Cal. Ct. App. 1994) (“In the insurance context, the
  [equitable subrogation] doctrine permits the paying insurer to be placed in the shoes of the insured and
  to pursue recovery from third parties responsible to the insured for the loss for which the insurer was
  liable and paid.”).

  District of Columbia:
  HSBC Bank USA, N.A. v. Mendoza, 11 A.3d 229, 235 (D.C. 2010) (“Under the doctrine of equitable
  subrogation, a lender who pays off a pre‐existing mortgage … steps into the shoes of the mortgagee whom
  it has paid off and receives that mortgagee’s priority over subsequent liens.”) (citing Eastern Sav. Bank v.
  Pappas, 829 A.2d 953, 955‐59 (D.C. 2003).

  Florida:
  Holmes Regional Med. Ctr., Inc. v. Allstate Ins. Co., 225 So.3d 780, 784 (Fla. 2017) (“[S]ubrogation is an
  equitable doctrine that allows the initial tortfeasor to be placed in ‘the shoes of’ the plaintiff.’”) (citing
  Underwriters at Lloyds v. City of Lauderdale Lakes, 382 So.2d 702, 704 (Fla. 1980)).

  Hawaii:
  St. Paul Fire & Mar. Ins. Co. v. Liberty Mut. Ins. Co., 353 P.3d 991, 994 (Haw. 2015) (“Through subrogation,
  the subrogee ‘is put in all respects in the place of the party whose rights he is subrogated.’”) (quoting
  Peters v. Weatherwax, 731 P.2d 157, 161 (Haw. 1987) (quoting in turn Kapena v. Kaleleonalani, 6 Haw.
  579, 583 (Haw. Kingdom 1885)).




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  Iowa:
  Allied Mut. Ins. Co. Heiken, 675 N.W.2d 820, 825 (Iowa 2004) (“At the time subrogation attaches, the
  insurer becomes subrogated to the insured’s rights of recovery against the responsible tortfeasor, ‘and
  the insurer succeeds to all the procedural rights and remedies possessed by the insured.’”) (citing Gibbs
  v. Hawaiian Eugenia Corp., 966 F.2d 101, 106 (2d Cir. 1992) (Once an insurer pays its insured’s loss, “the
  insurer is subrogated in a corresponding amount to the insured’s right of action against any other person
  responsible for the loss, and the insurer succeeds to all the procedural rights and remedies possessed by
  the insured.); Grinnell Mut. Reins. Co. v. Recker, 561 N.W.2d 63, 69 (Iowa 1997) (“In the context of
  insurance law, subrogation has been defined as “the right of the insurer to be put in the position of the
  insured in order to pursue recovery from third parties legally responsible to the insured for a loss paid by
  the insurer.” … The principles of subrogation provide that … ‘The subrogee merely steps into the shoes of
  the subrogor.”) (citations and quotations omitted).

  Kansas:
  Hartford Fire Ins. Co. v. Western Fire Ins. Co., 597 P.2d 622, 628‐29 (Kan. 1979) (finding that the subrogor
  “stands in the shoes” of the subrogee: “Subrogation is the substitution of another person in the place of
  the creditor so that the person in whose favor it is exercised succeeds to the rights of the creditor in
  relations to the debt.”).

  Maine:
  Maine Mun. Emp. Health Trust v. Maloney, 846 A.2d 336, 339 (Me. 2004) (Subrogation is the substitution
  of one party for another. As the subrogee, [plaintiff] steps into the shoes of [the subrogor].”) (citing Unity
  Tel. Co. v. Design Serv. Co., 201 A.2d 177, 179 (Me. 1964).

  Massachusetts:
  Liberty Mut. Ins. Co. v. National Consol. Warehouse, Inc., 609 N.E.2d 1243, 1246 (Mass. Ct. App. 1993) (“A
  subrogee stands in the shoes of the subrogor in whose name the action is brought.”) (citing Harvard Trust
  Co. v. Racheotes, 147 N.E.2d 817, 818 (Mass. 1958)); McCabe v. Braunstein, 439 B.R. 1, 6 (Bankr. D. Mass.
  2010) (“By stepping into the shoes of the subrogor, the subrogee is bound by the timing of the original
  claim, the date upon which it arose and the date upon which it expires under a statute of limitations.”).

  Michigan:
  Foremost Life Ins. Co. v. Waters, 278 N.W. 2d 688, 689‐90 (Mich. Ct. App. 1979) (“Subrogation is defined
  as … [t]he substitution of one person in the place of another with reference to a lawful claim, demand or
  right, so that he who is substituted succeeds to the rights of the other in relation to the debt or claim, and
  its rights, remedies, or securities.”) (citations omitted), rev’d on other grounds, 329 N.W.2d 688 (1982)
  (per curiam) (reversing denial of subrogation); Acuity v. Nick’s Trucking & Excavating, LLC, Civil Case
  No. 15‐11907, 2016 WL 4060975, at *3 (E.D. Mich. July 29, 2016) (“as subrogee of Killam, [subrogee]
  stands in Killam’s shoes”).




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  Minnesota:
  Auers v. Progressive Direct Ins. Co.:
          “Subrogation ‘is the substitution of another person in place of the creditor to whose rights
          he or she succeeds in relation to the debt, and gives to the substitute all the rights,
          priorities, remedies, liens, and securities of the person for whom he or she is
          substituted.’” Subrogation in the insurance context “involves the substitution of an
          insurer (subrogee) to the rights of the insured (subrogor). Upon payment of a loss, the
          insurer is subrogated in a corresponding amount to the insured’s right of action against
          any third party whose wrongful conduct caused the loss.”
  878 N.W.2d 350, 355 (Minn. Ct. App. 2016) (second and third emphasis in original) (quoting RAM Mut.
  Ins. Co. v. Rohde, 820 N.W.2d 1, 4‐5 (Minn. 2012) (quotation omitted) and Medica, Inc. v. Atlantic Mut.
  Ins. Co., 566 N.W.2d 74, 76 (Minn. 1997)); Melrose Gates, LLC v. Chor Moua, 875 N.W.2d 814, 817 (Minn.
  2016) (“Subrogation is the substitution of one party for another whose debt the party pays, which entitles
  the paying party to step into the shoes, or be substituted to all the rights, priorities, remedies, liens, and
  securities of, the other party.”)

  Mississippi:
  Armstrong v. Mississippi Farm Bureau Cas. Ins. Co., 66 So.3d 188, 190‐91 (Miss. Ct. App. 2011) (“When an
  insurer makes payments to an insured to cover a loss and the insured has a claim against a third party to
  recover for that same loss, the insurer steps into the shoes of the insured and acquires the right to recover
  from that third party the amount paid to the insured.”) (citing St. Paul P&L Ins. Co. v. Nance, 577 So.2d
  1238, 1240‐41 (Miss. 1991).

  Missouri:
  Continental Ins. Co. v. Washeon Corp., 524 F. Supp. 34, 36‐37 (E.D. Mo. 1995) (“As subrogee to plaintiff’s
  insured’s interest, plaintiff may assert the same rights and is subject to the same defenses as plaintiff’s
  insured.”) (citing U.S. v. United Serv. Auto. Ass’n, 238 F.2d 364, 366 (8th Cir. 1956) (“The subrogee stands
  in the place of one whose claim he has paid.”); Holt v. Myers, 494 S.W.2d 430, 444 (Mo. Ct. App. 1973)
  (“To the extent of its payment, the insurance company stood in the shoes of [its insured] … .”).

  Montana:
  Montana Petrol. Tank Release Bd. v. Capitol Indem. Co., 137 P.3d 522, 525 (Mont. 2006) (insurer “would
  stand in the shoes of” its insured); id. at 528 (“Subrogation is an equitable adjustment of rights used to
  avoid unjust enrichment. In many instances this is accomplished by substituting one person or entity in
  place of another in regard to some claim or right the second person or entity has against a third party.”);
  Talbot v. WMK‐Davis, LLC, 380 P.3d 823, 832 (Mont. 2016) (McKinnon, J., dissenting) (“Under Montana
  law, one who asserts the right of subrogation must step into the shoes of, or be substituted for, one whose
  claim or debt he or she paid.”) (citing, inter alia, Skauge v. Mountain States Tel. & Tel. Co., 565 P.2d 628,
  630 (Mont. 1977) (“the person substituted will succeed to the rights of the creditor in relation to the debt
  or claim.”).




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  Nebraska
  Thrower v. Anson, 752 N.W.2d 555, 562 (Neb. 2008) (“Subrogation involves the substitution of one person
  in the place of another with reference to a lawful claim, demand, or right, so that the one who is
  substituted succeeds to the rights of the other in relation to the debt or claim and its rights, remedies, or
  securities.”) (citing Blue Cross and Blue Shield of Neb., Inc. v. Dailey, 687 N.W.2d 689, 696 (Neb. 2004)
  (“Subrogation involves a substitution of one person in the place of another with reference to a lawful
  claim, demand, or right, so that the one who is substituted succeeds to the rights of the other in relation
  to the debt or claim and its rights, remedies, or securities.”); Querrey & Harrow v. Transcontinental Ins.,
  885 N.E.2d 1235, 1237 (Ind. 2008) (Sullivan, J., dissenting,) (“[o]ne who asserts a right of subrogation must
  step into the shoes of, or be substituted for, the one whose claim or debt he has paid”)).

  Nevada:
  Arguello v. Sunset Station, Inc. , 252 P.3d 206, 208 (Nev. 2011) (“[A]n insurer that pays its insured in full
  for claimed losses is subrogated by operation of law … [and] is the sole party in interest, and the only one
  who may assert a claim against those thought to be ultimately liable.”) (quotations omitted; first emphasis
  in original); Laffranchini v. Clark, 153 P. 250, 254 (Nev. 1915) (recognizing that a subrogated party
  “stepped into the shoes [of the subrogee] … as of the date of the payment”), cited by American Home
  Assur. Co. v. Eighth Jud. Dist. Court ex rel. County of Clark, 147 P.3d 1120, 1127 n.34 (Nev. 2006).

  New Hampshire:
  Wolters v. American Republic Ins. Co., 827 A.2d 197, 199‐200 (N.H. 2003) (“The doctrine of subrogation …
  [vests in the subrogee] all the rights which the creditor had against him (the principal debtor).”)
  (quotation omitted).

  New Mexico:
  Amica Mut. Ins. Co. v. Maloney, 903 P.2d 834, 838 (N.M. 1995) (“Ordinarily the right of subrogation allows
  an insurer who has fully compensated the insured to step into the shoes of the insured and collect what
  it has paid from the wrongdoer.”) (citing White v. Sutherland, 585 P.2d 331, 334 (N.M. Ct. App. 1978)
  (“[S]ubrogation gives the payor a right to collect what it has paid from the party who caused the
  damage.”).

  New York:
  North Star Reins. Corp. v. Continental Ins. Co., 624 N.E.2d 647, 82 N.Y.2d 281, 294 (1993) (“Subrogation,
  an equitable doctrine, entitles an insurer to ‘stand in the shoes’ of its insured to seek indemnification
  from third parties whose wrongdoing has caused a loss for which the insurer is bound to reimburse.”);
  Great Am. Ins. Co. of N.Y. v. Advance Ocean Inc., 07 Civ. 6421 (PAC), 2008 WL 11399095, at *3 (S.D.N.Y.
  July 8, 2008 (citing, inter alia, U.S. v. California, 507 U.S. 746, 756 (1993) (“When proceeding by
  subrogation, the subrogee ‘stands in the place of one whose claim he has paid.’”) (quoting U.S. v. Munsey
  Trust Co., 332 U.S. 234, 242 (1947))).

  North Carolina:
  Milwaukee Ins. Co. v. McLean Trucking Co., 125 S.E.2d 25, 29 (N.C. 1962) (“The general rule is that upon
  payment of a loss, pursuant to the terms of its contract of insurance, the insurer, or insurers in the case




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  of coinsurance, are entitled to be subrogated pro tanto to any right of action which the insured may
  have against a third party whose negligence or wrongful act caused the loss.”); Nationwide Mut. Ins. Co.
  v. Erie Ins. Co., 720 S.E.2d 30 (Table), 2011 WL 6046898, at *3 (N.C. Ct. App. Dec. 6, 2011) (Insurer “stepped
  into the shoes of the drivers through subrogation, … .”).

  North Dakota:
  Haugenoe v. Workforce Safety & Ins., 748 N.W.2d 378, 393 (N.D. 2008) (“Under the concept of
  subrogation, [Insurer] ‘stands in the shoes’ of the claimant for any recovery.”) (citing Ness v. St. Aloisius
  Hosp., 313 N.W.2d 781, 783 (N.D. 1981) (insurer “stands in the shoes” of insured).

  Oregon:
  Koch v. Spann, 92 P.3d 146, 148 (Or. Ct. App. 2004) (“In the insurance context, subrogation permits an
  insurer in certain instances to recover what it has paid to its insured by, in effect, standing in the shoes of
  the insured and pursuing a claim against the wrongdoer.”); Certain Underwriters at Lloyd's London and
  Excess Ins. Co., Ltd. v. Massachusetts Bonding and Ins. Co., 230 P.3d 103, 112 (Or. Ct. App. 2010) (under a
  subrogation theory, an insurer “stands in the shoes of its insured.”).

  Rhode Island:
  Hawkins v. Gadoury, 713 A.2d 799, 804 (R.I. 1998) (“Otherwise described, ‘[s]ubrogation places the
  subrogated party in the shoes of the creditor and entitles him to the rights which the creditor had in
  respect to the debt or obligation.’”).

  South Carolina:
  Kuznik v. Bees Ferry Assoc., 538 S.E.2d 15, 31 (S.C. Ct. App. 2000) (“Under equitable subrogation,
  [subrogee] would step into the shoes of the original creditor.”) (citing Dodge City of Spartanburg, Inc. v.
  Jones, 454 S.E.2d 918, 920 (S.C. Ct. App. 1995) (“through doctrine of equitable subrogation, a subsequent
  creditor can assume rights and priority of prior creditor”)).

  South Dakota:
  National Farmers Union P&C Co. v. Farm and City Ins. Co., 689 N.W.2d 619, 625 (S.D. 2004) (“Equitable
  subrogation applies when ‘an insurer has paid the principal debtor’s obligation to the common underlying
  claimant, and thereafter succeeds to the claimant’s rights against the principal debtor… .’”); Street v.
  Farmers Elevator Co. of Elkton, 149 N.W. 429, 433 (S.D. 1914) (“the bailee by equitable assignment and
  subrogation steps into the shoes of the paramount owner as to the rights and ownership of the bailed
  property.”).

  Tennessee:
  Blankenship v. Estate of Bain, 5 S.W.3d 647, 650 (Tenn. 1999) (“Subrogation allows an insurer to ‘stand in
  the shoes’ of an insured and assert the rights of the insured had against a third party.”) (citing Wimberly
  v. Am. Cas. Co., 584 S.W.2d 200, 203 (Tenn. 1979) (“The purpose of insurance subrogation is to prevent
  either the unjust enrichment of the insured through a double recovery or a windfall benefit to the principal
  tortfeasor by allowing the insurer to stand in the shoes of the insured once the insurer has fully
  indemnified the insured.”)); York v. Sevier County Amb. Auth., 8 S.W.3d 616, 618‐19 (Tenn. 1999) (“In the




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  context of insurance, subrogation allows the insurer to ‘stand in the shoes’ of the insured and assert the
  rights the insured had against a third party.”) (original emphasis removed).

  Utah:
  Birch v. Fire Ins. Exch., 122 P.3d 696, 697 (Utah Ct. App. 2005) (“’The doctrine of subrogation allows an
  insurer, “having paid a loss resulting from a peril insured against, to step into the shoes of its insured
  … .”’”) (quoting GNS P’ship v. Fullmer, 873 P.2d 1157, 1160 (Utah Ct. App. 1994) (“The doctrine of
  subrogation allows an insurer, ‘having paid a loss resulting from a peril insured against, to step into the
  shoes of its insured and recoup its losses from a tort‐feasor whose negligence caused the loss.’”) (quoting
  Board of Educ. v. Hales, 566 P.2d 1246, 1247 (Utah 1977)).

  Vermont:
  Town of Stowe v. Stowe Theatre Guild, 908 A.2d 447, 449 (2006) (“Subrogation allows an insurer to
  ‘stand[ ] in the shoes’ of the insured in a lawsuit and thereby collect the amounts the insurer has been
  compelled to pay for losses caused by the actual wrongdoer, … .’”) (quoting United Mut. Fire Ins. Co. v.
  Joerg, 824 A.3d 586, 589 (Vt. 2003)).

  West Virginia:
  Farmers & Mech. Mut. Ins. Co. v. Allen, 778 S.E.2d 718, 722 (W. Va. 2015) (“a subrogated insurer stands
  in the shoes of an insured”) (citing Steven Plitt et al., 16 COUCH ON INSURANCE 3d §222:5 (2015)).

  Wisconsin:
  Fischer v. Steffen, 797 N.W.2d 501, 507 (Wis. 2011) (“In the insurance context, subrogation is a derivative
  right that permits an insurer to step into the shoes of the insured and to pursue recovery from the
  tortfeasor to the extent of the insurer’s payments to the subrogor (the insured).”) (citing, inter alia, Muller
  v. Society Ins., 750 N.W.2d 1, 6 (Wis. 2008) (“In the insurance context, subrogation is a purely derivative
  right that permits an insurer who has been contractually obligated to satisfy a loss created by a third party
  to step into the shoes of its insured and to pursue recovery from the responsible wrongdoer.”) (citing 73
  AM. JUR.2d Subrogation §1 (2007)); Sentry Select Ins. Co. v. McCoy Corp., 980 F. Supp.2d 1072, 1075 n.3
  (W.D. Wis. 2013) (“One who rests on subrogation stands in the place of one whose claim he has paid,
  … .”) (quoting U.S. v. Munsey Trust Co., 332 U.S. 234, 242 (1947)).




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